UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

 

 

SANDRA C. AFFARE )
Plaintiff, ) CIVIL ACTION FILE NO.:
) .
Vv. )
) JURY TRIAL DEMAND
UNIVERSITY OF TENNESSEE _)
AT CHATTANOOGA, )
Defendant. )

 

VERIFIED COMPLAINT FOR DAMAGES

Sandra C. Affare, Ph.D. (“Dr. Affare”), Plaintiff in the above styled action,
by and through the undersigned counsel, files her Verified Complaint for
Damages and Demand for Trial. In support of thereof, Plaintiff would state to the
Court as follows:

PRELIMINARY STATEMENT

1. Plaintiff Affare, brings this action against the University of Tennessee at
Chattanooga (“UTC”) for violations of Title VII of the Civil Rights Act of 1984,
(“Title VII”) pursuant to 42 U.S.C. §§2000e et seq., and the Age Discrimination
in Employment Act 1967, (“ADEA”); as codified, 29 U.S.C. §§621 to 634,
2000e-17.
2. Plaintiff Affare is female, over forty years of age, and is a person of African

American heritage.

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3. At all times relevant to this action, Plaintiff Affare served as a faculty
member within the University of Tennessee constituent campus system.
4. Plaintiff Affare was previously employed as a faculty member with the
University of Tennessee Space Institute (“UTSI”) in a full-time, non-tenure-track
appointment as an Assistant Professor of Practice from February 1, 2018, until
July 31, 2021.
5. After the UTSI non-tenure-track appointment ended, Plaintiff Affare
continued to serve in a part-time non-tenure-track adjunct position with UTC.
6. Plaintiff Affare applied for the next available tenure-track position in the
UTC EMT Department.
7. Plaintiff Affare’s application was denied and the tenure-track position was
granted to a male applicant, under 40 years of age.

JURISDICTION
8. This Court has jurisdiction over this action pursuant to Title VII of the
Civil Rights Act of 1964, as codified, 42 U.S.C. 2000e to 2000e-17, on the basis
of gender, and the Age Discrimination in Employment Act of 1967, (ADEA); as
codified, 29 U.S.C. §§ 621 to 634, 2000e-17 on the basis of age.
9. This Court also has supplemental jurisdiction over Plaintiff's related
claims arising under state and local laws pursuant to 28 U.S.C. 1367(a),

specifically, the State of Tennessee Human Rights Act.

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VENUE

10. Venue is proper in this district under 28 U.S.C. 1391(b)(2), in that a
substantial part of the events or omissions giving rise to the claims occurred in
Hamilton County Tennessee.

CONDITIONS PRECEDENT
11. On January 13, 2021, Plaintiff Affare filed a discrimination charge with
the Equal Employment Opportunity Commission (“EEOC”) in which she
identified acts on the part of the College of Engineering and Computer Science
at the University of Tennessee at Chattanooga (“UTC”) which constitutes illegal
discrimination on the basis of race, sex, age, and national origin.
12. On October 28, 2021, Plaintiff Affare received notification from EEOC
that the required Notice of Right to Sue from the EEOC was available on the
EEOC portal.
13. The EEOC Notice of Right to Sue was received on October 28", 2021, and
is attached as exhibit one. !
14. The Complaint has been timely filed within ninety days of the receipt of

the Notice of Right to Sue.

 

1 A true and accurate copy of the Notice of Right to Sue was issued by EEOC on October
27, 2021 and received via e-mail by Dr. Affare on October 28, 2021, and is incorporated
herein and attached hereto as Exhibit 1.

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15. Plaintiff, Dr. Sandra C. Affare, has fully complied with all of the
procedural prerequisites to jurisdiction in United States District Court for the
Eastern District of Tennessee.

PARTIES TO THE COMPLAINT
16. Plaintiff, Affare is female and over the age of forty (40).
17. Plaintiff Affare is an individual citizen and resident of the State of
Tennessee, County of Hamilton which is located in the judicial district of the U.S.
District Court for the Eastern District of Tennessee.
18. Plaintiff Affare is an employee, as defined by Title VII, and the ADEA.
19. Defendant, University of Tennessee at Chattanooga, (UTC) is an employer
as defined by Title VII of the Civil Rights Act 1964, and the Age Discrimination
in Employment Act of 1967, (ADEA).
20. Defendant, UTC, can be served with process by serving its registered
agent, the Office of the Attorney General for the State of Tennessee, whose
principal place of business is located at 1331 Circle Park Drive, Knoxville, TN

37916.

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FACTS
21. Plaintiff Affare asserts and incorporates by reference, Paragraphs 1-20 as
if fully set forth herein.
22. Plaintiff's claims for relief arise from the discriminatory acts of defendant,
University of Tennessee at Chattanooga and the impact of it practices and policies
on members of protected classes under federal and state equal employment
opportunity statutes and laws.
23. Plaintiff Affare is female and over forty (40) years of age.
COUNT 1:
DISCRIMINATION BASED ON GENDER IN VIOLATION
OF TITLE VI OF THE CIVIL RIGHTS ACT OF 1964

24. Plaintiff Affare realleges and incorporates Paragraphs | through 24 of the
Complaint as if fully set forth herein.
25. Plaintiff Affare requested that she be considered for a full time, non-track-
track Lecture Position opening in the UTC EMT Department and was advised
that the position had to be posted. No further action was taken to determine if the
available non-track-track position could be filled by other means.
26.  Itis Plaintiff Affare’s information and belief that the stated non-track-track

position could be filled without a posting as it appeared to be done for UTC

professional staff who are not racial minorities.

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27. Plaintiff Affare further asserts that the UTC EMC Department treats
similarly situated male employees more favorably women.
28. All tenured-track instructors in the UTC EMC Department are male.
29. The last six hires for tenured-track positions in the UTC EMC Department
were male.
30. And, Dr. Affare’s application for a track-track position was denied, and a
male applicant who was under the age of 40 was selected.
31. Plaintiff Affare suffered damages as a result of UTC EMC Department’s
indifference to unlawful discriminatory, including emotional distress, past and
future lost wages and benefits and the cost of bring this action in an amount to be
determined at trial.
COUNT Il:
DISPARATE IMPACT FAILURE TO PROMOTE

32. Plaintiff Affare is African American, female and over forty years
of age.

33. Dr. Affare applied for a tenure-track position opening in the UTC
EMT Department.

34. Plaintiff Affare was uniquely qualified for the position in the UTC

EMT Department, given her background, work history, education and

professional credentials.

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35. Plaintiff Affare application was rejected and track-track position

was awarded for a male applicant who under forty years of age,
PLAINTIFF AFFARE IS UNIQUELY QUALIFIED
FOR A TRACK-TRACK POSITION

36. Plaintiff Affare is a proud graduate of the UTC College of
Engineering and Computer Science, and was instrumental in funding the UTC
Ron Cox Endowment Fund, which will provide financial support to future
students within the Engineering Management and Technology Department.

37. Plaintiff Affare came to UTC EMT as a valued addition to the
adjunct teaching staff, with twenty or more years of project management
experience, and thirteen years of research and development experience in the
engineering field.'

38. She came to the EMC Department as a part-time adjunct professor
with Project Management Professional (PMP) credentials, which she has retained
throughout her tenure the UTC EMC Department.

39. The record will show that Plaintiff Affare has been a part-time
Adjunct Instructor at UTC in the EMT Department since the Spring of 2018.

40. As documented in the attached Curriculum Vitae (CV)', Plaintiff

Affare was initially assigned as an instructor for ENGM 5540, which is a

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graduate-level course in Technical Project Management, that is arequired subject
for graduates of the Engineering Management Program.

41. Plaintiff Affare is one of the limited numbers of female instructors
in the UTC EMT Department with direct student contact.

42. Additionally, through her hard work and dedication, she has
garnered the respect and admiration of students, industry leaders, and community
organizations.

43. The record will show that the number of female students in the
Engineering Management and Technology Department grew 16% between Fall
2019 and Fall 2020.

44. Plaintiff Affare is directly responsible for the production of more
than 600 student credit hours between the Spring of 2018 and the Fall of 2020.

UTC EMC DEPARTMENT
HAS NOT EMBRACED UCT?’S STRATEGIC MISSION

45. UTC has implemented a strategic plan in which each Department is
expected to plan, and support the goals and strategies outlined in its Mission
Statement.

UTC Mission Statement:
UTC is a driving force for achieving excellence by actively engaging students,
faculty, and staff; embracing diversity and inclusion; inspiring positive change;

and enriching and sustaining our community.

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46. There are currently no female instructors in a tenure-track position
in the UTC EMT Department. All current tenure-track positions are held be male
instructors.

47. The last six tenure-track faculty hires in the UTC EMT Department
have all been male.

48. An external review of the UTC Master of Science in Engineering
Management Department was conducted in the year 2020.

49. On page seven (7) of the undated draft report that was provided to
EMC instructors, it is noted that students enrolled in the MSEM Program appear
to be diverse, with students from multiple groups of minorities and genders, and
that the facility has a diverse mix that include Asian, Hispanic, African American,
and white faculty. 2

50. However, it is also noted in the draft copy of the External Review
that MSEM faculty is all male and “an addition of a female faculty in the near
future would be appropriate”. 3

51. Even with the stated need for gender diversity in the external review,

Plaintiff Affare was not awarded the posted track-track position in the UTC EMT

 

2 Master of Science in Engineering Management, University of Tennessee Chattanooga,
External Reviewer Report by Dr. Resit Unal, Professor of Engineering Management and
Systems Engineering, Old Dominion University.

3 See — Master of Science in Engineering Management, University of Tennessee
Chattanooga, External Reviewer Report by Dr. Resit Unal, Professor of Engineering
Management and Systems Engineering, Old Dominion University — page 7.

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Department. Despite the fact that she was uniquely qualified to assume the role
in light of her superior performance, her many achievements, and the stated need
for gender diversity.

52. It is Plaintiff's Affare’s information and belief that the hiring matrix
which used a mix of subjective observations and numeric evaluation of the
applicant’s ability to perform critical job functions had a disparate impact on
female applicants due to known preferences within the UTC EMT to hire
qualified male applicants.

53. Of equal importance is the fact that NO VALUE was apportioned
to diversity measures, and as a result, critical diversity goals were not imbedded
in the employment evaluation process to ensure that those components where
consider in the applicant evaluation.

54. The UTC EMT Department failed to implement UTC’s stated
mission in its hiring practices, giving a voice to the implicit bias preferences
inherent in a learning environment where male track-track instructors are the
norm.

UTC is a driving force for achieving excellence by actively engaging

students, faculty, and staff; embracing diversity and inclusion; inspiring

positive change; and enriching and sustaining our community.

55. UTC has implemented a strategic plan in which each department is

expected to plan and support according to the goals and strategies outlined.

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Goal 4 provides a target and activities to accomplish the goal which supports the
mission to embrace diversity and inclusion as it relates to staffing.

56. To achieve this goal, UTC has a duty to develop, implement, and
assess an institutionalize a diversity plan that defines and sets clear metrics for
diversity outcomes that has the power to overcome personal preferences.

57. The decision-making process used by UTC MEC Department track-
track hiring process contained elements of both subjective criteria, and
objective measures.

58. It must be noted that Plaintiff Affare obtained the best outcome
when a scored decision-making rubric with objective measures was used to
determine advancement in the selection process.

59. It is Plaintiffs Affare’s contention that the weighted use of
subjective criteria to determine advancement in the hiring process and
ultimately, the selection of the most qualified candidate, had a disparate impact
on female applicants based on the composition of EMC and the open and

obvious preference for male applicants.

I. STATEMENT OF CLAIM.
60. This action is brought for discrimination in employment pursuant to Title

VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-

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in Employment Act of 1967, (ADEA); as codified, 29 U.S.C. §§ 621 to 634, and
relevant state law, specifically, the State of Tennessee, Human Rights Act.

UNEQUAL TERMS AND CONDITIONS OF EMPLOYMENT
BASED ON RACE
61. The first alleged discriminatory acts occurred on September 6, 2019, when

the EMT Department Head stated that he was not able to approve Plaintiff
Affare’s request for a lateral move to a full-time non-track-track position without
going through a formal selection process.

62. Plaintiff Affare did in fact request a meeting the EMT Department Head to
discussing options for advancement to full time opening within the EMT
Department.

63. Plaintiff Affare made a direct request to the EMT Department Head to be
moved into a non-track-track lecturer position that was abruptly vacated by Dr.
Alexander Sokolov.

64. Plaintiff Affare’s request was promptly and soundly rejected without
further consideration or any form of follow up based on the stated need to for a
formal selection process.

65. Plaintiff Affair observed that UTC placed Laura Pou, Assistant Vice
Chancellor of HR, and Dr. Matt Matthews, Vice Provost, in positions where they
acted in an interim role without going through a formal selection process. Both

of the identified parties are not racial minorities.

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66. It is further noted that there was no evidence of a public search before
either of these candidates were named in their position.
67. The same consideration was asked of the EMT Department Head during
the September 6 meeting. There is no question that Plaintiff Affare was
qualified for the vacated position based on the favorable reviews from her
students and her teaching record as stated in the UTC Position Statement to the
EEOC.
V. RELIEF.

1. The culture of exclusivity vs inclusion has affected a term, condition, or
privilege of employment.

2. Plaintiff has incurred lost wages and benefits as a result of Defendant’s
decision to hire a male candidate under the age of forty in the track-track position
in lie of hiring a uniquely divers, candidate.

4. Plaintiff has incurred on-going attorney fees and litigation cost.

5. Plaintiff is entitled to lost wages and benefits, compensatory damages, and

attorney fees as a matter of law.

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WHEREFORE, Plaintiff demands the following:

1. That proper process be issued and be served upon Defendant through its
registered agent and that Defendant be required to appear and answer the
Complaint within the time required by law.

2. That Plaintiff be awarded a judgment against Defendant UTC in the
amount of $287,000.00.

3. That Plaintiffis placed in the next available Associate Professor, full time
track-track position in the Engineering Management Department the University
of Tennessee at Chattanooga.

4. That Defendant be required to conduct mandatory, in person Diversity
Training which highlights Unconscious Bias for all UTC College of Engineering
and Computer Science Department Heads, Deans, Associate Deans, Managers
and Supervisors.

5. A written policy for tenure and promotions per department and college
that is monitored by the Provost’s Office, and followed.

6. That the cost of this action be awarded to Plaintiff.

7. That such further and other general relief to which Plaintiff may be

entitled, including attorneys’ fees as a prevailing party.

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Respectfully submitted.

 

   

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

DR. SANDRA C. AFFARE, )
)
Plaintiff, )
Vv. )
) No.
UNIVERSITY OF TENNESSEE )
AT CHATTANOOGA ) JURY TRIAL DEMANDED
)
Defendant. )
CERTIFICATE OF SERVICE

 

[hereby certify that on January 25, 2022, the foregoing Complaint and was
electronically filed with the Clerk of the Court using the CM/ECF system which

will automatically send email notification of such filing to the following counsel

of record:

Yousef A. Hamadeh Office of Attorney General
University of Tennessee P.O. Box 20207

615 McCallie Avenue Nashville. TN 37202-0207
50 Founders Hall Phone: 615-741-3491
Chattanooga, TN 37403 Fax: 615-741-2009

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IQ)

  
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

STATE OF TENNESSEE
COUNTY OF HAMILTON

I, Dr. Sandra C. Affare, being duly sworn according to law, state that the facts
set out in the above petition are true and correct to the best of my knowledge,

information, and belief.

 

pt |
Sworn to and subscribed before me this the AY day of AUC, 2022'Q

    
   

 

Notary Publi NOTARY
PUBLIC

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